         Case 3:11-cr-03486-JAH                       Document 1083                    Filed 11/23/15           PageID.4255               Page 1 of
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     ~AO 245B (CASD) (Rev. 4114)   Judgment in a Criminal Case
                Sheet 1




                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE                                TI-J
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                             Tyler Lowman -II                                        Case Number: ll-cr-03486-JAH-Il
                                                                                     Martha McNab Hall
                                                                                     Defendant's Attorney
    REGlSTRATION NO. 28128298

    o
    THE DEFENDANT:
    (8] pleaded guilty to count(s)_O_n_e_o_f_th_e_I_n_d_ic_tm_en_t_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                           Count
    Title & Section                          Nature ofOtTense                                                                             Number(sl
18:371                                Conspiracy to Commit Wire Fraud                                                                      1




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
 !VI Count(s)
 ~
                     . .                                    -------O---!VI-------------­
                _re_ma~m_l_n:;;.g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is   dismissed on the motion of the United States.
                                                                                                 are~


 181 Assessment: $100.00.


 181 No fine                                        o   Forfeiture pursuant to order filed
                                                                                                   ------------                , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. [f ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               November 16, 2015




                                                                                                                                         11-cr-03486-JAH-ll
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AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                             Judgment   Page _ _2_ of        5
 DEFENDANT: Tyler Lowman -11
 CASE NUMBER: ll-cr-03486-JAH-ll
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Four months.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o    The defendant is remanded to the custody of the United States Marshal.

    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Da.m.    Dp·m.       on
               as notified by the United States Marshal.

     jgI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          jgI before 12/28115 @ 2:00 PM.
          jgI as notified by the United States Marshal.
          jgI as notified by the Probation or Pretrial Services Office.


                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            U}ITTEDSTATES~SHAL



                                                                   By ________~~~~~~~~~~__- - - - ­
                                                                                         DEPUTY U}ITTED STATES ~SHAL




                                                                                                               ll-cr-03486-JAH-ll
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AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3  Supervised Release
                                                                                                               Judgment-Page ---l.- of _........:5:...-_ _
DEFENDANT: Tyler Lowman -11                                                                            II
CASE NUMBER: ll-cr-03486-JAH-l1
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federa~ state or local crime.
For ojfollses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicab Ie.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with llie requirements ofthe Sex Offender'Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the pro bation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shaH notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                    ll-cr-03486-JAH-ll
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       AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 -   Special Conditions
                                                                                                         Judgment-f'age   ---i.- of _ _5--.__
       DEFENDANT: Tyler Lowman -II                                                                 II
       CASE NUMBER: ll-cr-03486..JAH-ll




                                                SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within          days.
D Complete           hours of community service in a program approved by the probation officer within
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of two months - punitive.
o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
     obtained under any other name, or entity, including a trust, partnership or corporation until the fme or
     restitution is paid in full.

     Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
     including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                 ll-cr-03486-JAH-ll
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A0245S     Judgment in Criminal Case
           Sheet S - Criminal Monetary Penalties
                                                                                                    Judgment ­ Page _ _5_ _ of         5
DEFENDANT: Tyler Lowman
CASE NUMBER: 11-cr-03486-JAH-ll

                                                         RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _$_1_6_9,_0_00_ _ _ _ unto the United States of America.




         This sum shall be paid __ immediately.
                                 1(. as follows:
          Pay restitution in the amount of$169,000 through the Clerk, U. S. District Court. Payment of restitution shall be
          forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate Financial
          Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The
          defendant shall pay the restitution during his supervised release at the rate of $500 per month. These payment schedules
          do not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
          restitution judgment.

          Defendant shall be jointly and severally liable to pay restitution with co-defendants/co-conspirators for the same losses.
          The presently known co-defendantfco-conspirators are Kari Loman and Lisa Walker.

          Until restitution has been paid, the defendant shall notifY the Clerk of the Court and the United States Attorney's Office
          of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.




     The Court has determined that the defendant        does not    have the ability to pay interest. It is ordered that:

    )C      The interest requirement is waived.

            The interest is modified as follows:




                                                                                                   ll-cr-03486-JAH-Il
